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 1   Scott N. Cameron (SBN: 226605)
     Attorney at Law
 2   1017 L Street, PMB 576
 3   Sacramento, CA 95814
     (916)769-8842
 4
 5   Attorney for:
     EDGAR HERRERA
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   CASE NO. 2:15-CR-131 TLN
                                                       )
12                Plaintiff,                           )
13                                                     )   APPLICATION FOR COURT ORDER
           vs.                                         )   TO EXONERATE BOND AND
14                                                     )   RECONVEY PROPERTY; ORDER
     EDGAR HERRERA, et. al.,                           )
15
                                                       )   JUDGE: Hon. Troy L. Nunley
16                Defendants.                          )
17   I, Scott N. Cameron, hereby declare as follows:
18      1. I am an attorney, licensed in the state of California, and have been appointed by this
19         Court to represent Edgar Herrera in the above-captioned case.
20      2. On May 23, 2019, this Court sentenced Edgar Herrera to 38 months of imprisonment.
21         (ECF No. 455.) Edgar Herrera was ordered to surrender himself to the Bureau of
22         Prisons on July 8, 2019. (ECF No. 455.) Edgar Herrera timely surrendered to the
23         Bureau of Prisons and is presently incarcerated at FCI Lompoc in California. His
24         registry number is 72819-097.
25      3. The defendant, Edgar Herrera, by and through his undersigned counsel, Scott N.
26         Cameron, respectfully requests that this Court order the exoneration of the $74,122.00
27         secured appearance bond (ECF No. 78) used to ensure Edgar Herrera's appearance in
28         this matter. It is further requested that the property listed in that appearance bond, and

              APPLICATION FOR COURT ORDER TO EXONERATE BOND AND RECONVEY PROPERTY
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 1          also listed in deed of trust #0215160675 (ECF No. 82), be reconveyed back to the
 2          property's owner, Mauricio D. Pulido, Sr.
 3      4. It is further requested that the Court order the clerk of the court to send the reconveyance
 4          documentation and original deed of trust to:
 5          Scott N. Cameron
            Attorney at Law
 6          1017 L Street, PMB 576
 7          Sacramento, CA 95814

 8
        I declare under penalty of perjury that the foregoing is true and correct and that this
 9
     declaration was executed on August 1, 2019, at Sacramento, California.
10
                                                        /s/Scott N. Cameron
11                                                      Scott N. Cameron
12                                                      Attorney for Edgar Herrera

13
                                                 ORDER
14
            IT IS SO ORDERED that the $74,122.00 secured appearance bond (ECF No. 78) is
15
     exonerated and the property listed in that appearance bond, and also listed in deed of trust
16
     #0215160675 (ECF No. 82), is to be reconveyed back to the property owner, Mauricio D.
17
     Pulido, Sr.
18
            IT IS FURTHER ORDERED that the Clerk of the Court send the reconveyance
19
     documentation and original deed of trust to:
20
            Scott N. Cameron
21
            Attorney at Law
22          1017 L Street, PMB 576
            Sacramento, CA 95814
23
24   Dated: August 5, 2019

25
26
27
                                            Troy L. Nunley
28                                          United States District Judge


              APPLICATION FOR COURT ORDER TO EXONERATE BOND AND RECONVEY PROPERTY
                                                2
